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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                     )   Chapter 11
                                           )
W.R. Grace & Co., et al.,                  )   Case No. 01-01139 (JKF)
                                           )   (Jointly Administered)
                                           )
                      Debtors.             )   Objection Deadline: August 2, 2006 at 4:00 p.m.
                                           )   Hearing Date: Hearing will be held if necessary

               SUMMARY OF MONTHLY FEE AND EXPENSE INVOICE

Name of Applicant:                             Hilsoft Notifications

Authorized to Provide                          The Official Committee of Asbestos Property
Professional Services to:                      Damage Claimants

Date of Retention:                             Retention order entered on September 23, 2002

Period for which compensation and              October 1, 2004 through November 30, 2004
Reimbursement is sought:

Amount of Compensation sought as actual,        $20,940.42
reasonably and necessary for matters other than
those related to the Sealed Air fraudulent
transfer lawsuit:

Amount of Expense Reimbursement sought as      $15.94
actual, reasonably and necessary for matters
other than those related to the Sealed Air
fraudulent transfer lawsuit:

This is a:____X_______monthly______________Interim_______________final Application
